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                        IN THE UNITED STATES DISTRICT COURT
                                 DISTRICT OF KANSAS

United States of America,

                      Plaintiff,

v.                                                            Case No. 07-20099-04-JWL


Yehia Hassen,

                      Defendant.

                                   MEMORANDUM & ORDER

       On November 12, 2020, this court denied defendant Yehia Hassen’s motion for

compassionate release pursuant to 18 U.S.C. § 3582(c)(1)(A). Defendant now seeks to appeal the

court’s November 12, 2020 memorandum and order denying compassionate release and, toward

that end, he has moved to file a notice of appeal out of time (doc. 1157). Because the court does

not have the authority to grant the motion to file an out-of-time appeal, the motion is dismissed

for lack of jurisdiction.

       A motion for compassionate release under § 3582(c)(1) is part of the criminal proceeding,

so an appeal from a decision on such a motion comes under the rules governing appeals in criminal

cases. See United States v. Heath, ___ Fed. Appx. ___, 2021 WL 840911, at *2-3 (10th Cir. Mar.

5, 2021). Those rules provide that a defendant in a criminal case has 14 days from entry of an

order to file a notice of appeal. See Fed. R. App. P. 4(b)(1)(A)(i). Thus, defendant’s notice of

appeal had to be filed by November 26, 2020 or, more accurately, by November 27, 2020 because

November 26, 2020 was a legal holiday. See Fed. R. App. P. 26(a)(1)(C) (“[I]f the last day is a
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Saturday, Sunday, or legal holiday, the period continues to run until the end of the next day that

is not a Saturday, Sunday, or legal holiday.”).

       While the court could have extended that 14-day period, “its authority to do so is strictly

limited.” United States v. Verdin-Garcia, 707 Fed. Appx. 559 (10th Cir. Dec. 20, 2017). “Upon

a finding of excusable neglect or good cause,” the district court may extend the time to file a notice

of appeal for only an additional 30 days. Id. (citing Fed. R. App. P. 4(b)(4)). Thus, the court could

have extended the time for defendant to file his notice of appeal to no later than December 27,

2020, although the time for appeal would then have been extended to December 28, 2020 because

December 27, 2020 was a Sunday. See Fed. R. App. P. 26(a)(1)(C).

       Because defendant seeks to file a notice of appeal more than four months after the

expiration of the time for filing a notice of appeal set forth in Rule 4(b)(1), the court must dismiss

the motion for lack of jurisdiction.



       IT IS THEREFORE ORDERED BY THE COURT THAT defendant’s motion to file

a notice of appeal out of time (doc. 1157) is dismissed for lack of jurisdiction.



       IT IS SO ORDERED.



       Dated this 5th day of May, 2021, at Kansas City, Kansas.



                                                     s/ John W. Lungstrum
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                                                   John W. Lungstrum
                                                   United States District Judge

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